Case.net: 16CL-CV00012 - Docket Entries                                                                                             Page 1 of 2




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                 16CL-CV00012 - KEVIN L PIPER V MIDLAND FUNDING LLC ET AL (E-CASE)


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03/08/2016            Summons Personally Served
                      Document ID - 16-AASM-65; Served To - ENCORE CAPITAL GROUP, INC; Server - ; Served Date - 07-
                      MAR-16; Served Time - 14:02:00; Service Type - Special Process Server; Reason Description - Served

03/07/2016            Notice of Service
                      Return of Service on Defendant Encore Capital Group.
                        Filed By: JOVANNA RENEE LONGO

03/01/2016            Alias Summons Issued
                      Document ID: 16-AASM-65, for ENCORE CAPITAL GROUP, INC.
                      Order - Special Process Server

02/29/2016            Summons Personally Served
                      Document ID - 16-AASM-55; Served To - MIDLAND FUNDING LLC R/A CSC; Server - ; Served Date -
                      23-FEB-16; Served Time - 02:05:00; Service Type - Special Process Server; Reason Description - Served
                      Summons Personally Served
                      Document ID - 16-AASM-56; Served To - ASSET ACCEPTANCE, LLC; Server - ; Served Date - 23-FEB-
                      16; Served Time - 02:05:00; Service Type - Special Process Server; Reason Description - Served
                      Summons Personally Served
                      Document ID - 16-AASM-57; Served To - ENCORE CAPITAL GROUP, INC; Server - ; Served Date - 23-
                      FEB-16; Served Time - 02:05:00; Service Type - Special Process Server; Reason Description - Served
                      Summons Personally Served
                      Document ID - 16-AASM-58; Served To - MIDLAND CREDIT MANAGEMENT INC; Server - ; Served Date
                      - 25-FEB-16; Served Time - 08:50:00; Service Type - Special Process Server; Reason Description -
                      Served
                      Motion Special Process Server
                      Motion for Special Process Server; Proposed Order.
                        Filed By: JOVANNA RENEE LONGO
                      Alias Summons Requested
                      Motion for Alias Summons; Rejection of Service of Process.
                         Filed By: JOVANNA RENEE LONGO
                      Notice of Service
                      Return of Service on Defendant Midland Funding.
                        Filed By: JOVANNA RENEE LONGO
                        On Behalf Of: KEVIN L PIPER
                      Notice of Service
                      Return of Service on Defendant Asset Acceptance.
                        Filed By: JOVANNA RENEE LONGO
                      Notice of Service
                      Return of Service on Defendant Encore Capital Group.
                        Filed By: JOVANNA RENEE LONGO
                      Notice of Service



                 Case 5:16-cv-06030-BCW Document 1-1 Filed 03/21/16 Page 1 of 12EXHIBIT                                                           A
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                              3/18/2016
Case.net: 16CL-CV00012 - Docket Entries                                                        Page 2 of 2



                  Return of Service on Defendant Midland Credit Management.
                    Filed By: JOVANNA RENEE LONGO

02/24/2016        Alias Summons Issued
                  Document ID: 16-AASM-58, for MIDLAND CREDIT MANAGEMENT INC.

02/19/2016        Order - Special Process Server
                  Alias Summons Issued
                  Document ID: 16-AASM-57, for ENCORE CAPITAL GROUP, INC.
                  Alias Summons Issued
                  Document ID: 16-AASM-56, for ASSET ACCEPTANCE, LLC.
                  Alias Summons Issued
                  Document ID: 16-AASM-55, for MIDLAND FUNDING LLC R/A CSC.
                  Alias Summons Issued
                  Document ID: 16-AASM-54, for MIDLAND FUNDING LLC.
                  Trial Setting Scheduled
                     Scheduled For: 03/23/2016; 9:00 AM ; JASON ALFRED KANOY; Caldwell
                  Hearing Continued/Rescheduled
                    Hearing Continued From: 02/24/2016; 9:00 AM Trial Setting

02/17/2016        Motion Special Process Server
                  Motion for Special Process Server; Proposed Order.
                    Filed By: JOVANNA RENEE LONGO
                    On Behalf Of: KEVIN L PIPER
                  Alias Summons Requested
                  Motion for Alias Summons.
                     Filed By: JOVANNA RENEE LONGO

01/15/2016        Summons Issued-Associate
                  Document ID: 16-ADSM-42, for ENCORE CAPITAL GROUP, INC.
                  Summons Issued-Associate
                  Document ID: 16-ADSM-41, for ASSET ACCEPTANCE, LLC.
                  Summons Issued-Associate
                  Document ID: 16-ADSM-40, for MIDLAND FUNDING LLC R/A CSC.
                  Summons Issued-Associate
                  Document ID: 16-ADSM-39, for MIDLAND FUNDING LLC.
                  Trial Setting Scheduled
                     Associated Entries: 02/19/2016 - Hearing Continued/Rescheduled
                     Scheduled For: 02/24/2016; 9:00 AM ; JASON ALFRED KANOY; Caldwell

01/14/2016        Filing Info Sheet eFiling
                      Filed By: JOVANNA RENEE LONGO
                  Pet Filed in Associate Ct
                  Petition.
                     On Behalf Of: KEVIN L PIPER
                  Judge Assigned
Case.net Version 5.13.11.0                         Return to Top of Page                 Released 02/25/2016




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https://www.courts.mo.gov/casenet/cases/searchDockets.do                                        3/18/2016
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                   IN THE 43RD JUDICIAL CIRCUIT COURT, CALDWELL COUNTY, MISSOURI

 Judge or Division:                                               Case Number: 16CL-CV00012
 JASON ALFRED KANOY
 Plaintiff/Petitioner:                                            Plaintiff/Petitioner's Attorney/Address:
 KEVIN L PIPER                                                    JOVANNA RENEE LONGO
                                                                  145 E MAIN ST
                                                                  SUITE A
                                                                  PO BOX 186
                                                                  ADRIAN, MO 64720
                                                            vs.   (816) 787-1979
 Defendant/Respondent:                                            Date, Time and Location of Court Appearance:
 MIDLAND FUNDING LLC                                              23-MAR-2016, 09:00 AM
 Nature of Suit:                                                  LARGE COURTROOM
 AC Other Tort                                                    49 EAST MAIN
                                                                  POBOX68
                                                                  KINGSTON, MO 64650                                                Date File Stam
                                                  Associate Division Alias Summons
      The State of Missouri to: MIDLAND FUNDING LLC R/A CSC
                                      Alias:
   221 BOLIVAR ST
   JEFFERSON CITY, MO 65101

                                        You are summoned to appear before this court on the date, time, and location above to answer the attached
         COURT SEAL OF           petition. If you fail to do so, judgment by default will be taken against you for the relief demanded in the petition.
                                 You may be permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have any
             UR~ O 2!            questions regarding responsive pleadings in this case, you should consult an attorney.
                                      If you have a disability requiring special assistance for your court appearance, please contact the court at
                                  least 48 hours in advance of scheduled hearing.                                     j        -
                   Y
                                               2/ 19/2016                                                        ~a7~LC ~
     CALDWELL COUNTY
                                                    llate                                                                  Clerk
                                 Further Information:
                                                                   Sherift's or Server's Return
     Note to serving officer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                                 appear in court.
     I certify that I have served the above summons by: (check one)
     ❑ delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
     ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                   a person of the Defendant's/Respondent's family over the age of 15 years.
     ❑ (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                              (name)                                                         (title).
      ❑    other

    Served at                                                                                                                               (address)
    in                                          (County/City of St. Louis), MO, on                             (date) at                             (time).


                   Printed Name of Sheriffor Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on                                       (date).
            (Seal)
                                    My commission expires:
                                                                         Date
     Sheriff's Fees
     Summons                     $
     Non Est
     Sheriffls Deputy Salary
     Supplemental Surcharge      $      10.00
     Mileage                     $                                miles a$.        per mile)
     Total                       $
   A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of suits,
   see Supreme Court Rule 54.

OSCA (7-09) SM22 (AASM) For Court use Only: Document ID#16-AASM-55                                   1                                        517.041 RSMo
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                                                                            16C L-CV00012

       IN THE CIRCUIT COURT OF CALDWELL COUNTY, STATE OF MISSOURI
                         ASSOCIATE JUDGE DIVISION

KEVIN PIPER,

      Plaintiff,
                                                      Case No.:
V.

MIDLAND FUNDING, LLC,
MIDLAND CREDIT MANAGEMENT,
INC., ASSET ACCEPTANCE, LLC, AND
ENCORE CAPITAL GROUP, INC.,
                                                                                                   ~
                                                                                                   ~
      Defendants.


                                        COMPLAINT

                                      INTRODUCTION

           1. Plaintiff Kevin Piper states that Defendants engaged in abusive, deceptive, and

unfair acts in violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

(hereinafter "FDCPA"). Specifically, Defendants contacted the Plaintiff regarding a debt when

they knew; or should- have known that Plaintiff was represented by counsel regarding the debt,

and further, sent to Plaintiff a demand for payment that included interest above what is allowed

by law or contract and misrepresented the amount of the debt.

                               JURISDICTION AND VENUE

           2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) as this is a court of

competent jurisdiction, and RSMo 506.500 as Plaintif resides in Caldwell County and the

Defendants transact business in Caldwell County.

           3. Venue in this County according to RSMo 508.010 as this is a county where

Defendants transact business and Plaintiff resides.




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                                          PARTIES                                                   n
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           4. Plaintiff is a natural person residing in the County of Caldwell, State of            Q
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Missouri. Plaintiff is a"consumer" within the meaning of the Fair Debt Collection Practices         ~
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Act, 15 U.S.C. § 1692a(3).                                                                          v
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           5. Defendant MIDLAND FUNDING, LLC, (hereinafter "MIDLAND") is a limited                  ~
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liability corporation organized pursuant to the laws of the State of Delaware, doing business in
                                                                                                    0
                                                                                               •    w
the State of Missouri. MIDLAND's Registered Agent in the State of Missouri is CSC
                                                                                                    ~
Lawyers Incorporating Service Company, 221 Bolivar Street, Jefferson City, MO 65101.

           6. Defendant MIDLAND CREDIT MANAGEMENT, INC. (hereinafter "MCM")

is a for profit corporation organized pursuant to the laws of the State of Kansas, doing business

in the State of Missouri. MCM's Registered Agent in the State of Missouri is CSC — Lawyers

Incorporating Service Company, 221 Bolivar Street, Jefferson City, MO 65101.

           7. Defendant ASSET ACCEPTANCE, LLC, (hereinafter "ASSET") is a limited

liability corporation organized pursuant to the laws of the State of Delaware, doing business in

the State of Missouri. ASSET's Registered Agent in the State of Missouri is CSC — Lawyers

Incorporating Service Company, 221 Bolivar Street, Jefferson City, MO 65 10 1.

           8. Defendant ENCORE CAPITAL GROUP, INC. (hereinafter "ENCORE") is a for

profit corporation organized pursuant to the laws of the State of Delaware, doing business in the

State of Missouri. ENCORE's Registered Agent in the State of Missouri is CSC — Lawyers

Incorporating Service Company, 221 Bolivar Street, Jefferson City, MO 65101.

           9. MIDLAND, MCM, and ASSET are all subsidiaries of ENCORE. Defendants are

engaged in the collection of debts from consumers using the mail, facsimile transmission and

telephone. Defendants regularly attempts to collect consumer debts it purchases after default




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and/or consumer debts alleged to be due to another. Defendants are a"debt collector[s]" as            n
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defined by 15 U.S.C. § 1692a(6).                                                                      Q
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            10.       The acts of Defendants alleged hereinafter were performed by their              ~
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employees acting within the scope of their employment with Defendants, and with its actual or
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apparent authority.                                                                                   ~
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                                 FACTUAL ALLEGATIONS
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            11.               On a date or dates unknown to Plaintiff, Plaintiff is alleged to have   ~
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incurred a financial obligation, namely a consumer credit account issued by Wells Fargo Bank,         ~

N.A., and bearing account number XXXX-XXXX-XXXX-5258 (hereinafter "the alleged

debt"). The alleged debt was incurred primarily for personal, family or household purposes and

is therefore a"debt" as that term is defined by 15 U.S.C. § 1692a(5).

            12.               Sometime thereafter on a date unknown to the Plaintiff, the alleged

debt was consigned, placed or otherwise transferred to ASSET for collection from the Plaintiff.

            13.               Thereafter, on April 9, 2013, ASSET caused a lawsuit to be filed

against Plaintiff. The lawsuit was filed in the Associate Judge Division of the Circuit Court of

Caldwell County, State of Missouri, captioned "ASSET ACCEPTANCE, LLC, v. Kevin Piper,

Case Number 13CL-CV00104".

           14.        The lawsuit alleged that the Plaintiff owed ASSET $7,497.31 on the

alleged debt, in addition to interest accruing at a rate of 9% per annum.

           15.        On April 30, 2013, Plaintiff retained counsel to represent him regarding

the alleged debt.

           16.        On May 15, 2013, Plaitniff's counsel filed an Entry of Appearance in the

lawsuit, notifying Defendant that Plaintiff retained a lawyer regarding the alleged debt.




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            17.        On October 30, 2013, the Court dismissed ASSET's lawsuit for failure to      n
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Asset's failure to appear in Court and prosecute the lawsuit.                                       Q
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            18.        On or around June 13, 2013, ENCORE acquired ASSET.                           ~
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            19.        Thereafter, on dates or dates unknown to Plaintiff, ASSET transferred the    v
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alleged debt to MIDLAND FUNDING for collection, another subsidiary of ENCORE.                       ~
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            20.        As ASSET was aware that Plaintif was represented by counsel, so too
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ENCORE; MIDLAND FUNDING and MCM were aware that Plaintiff was retained by counsel                   ~
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as information regarding the alleged debt would have been transferred from ASSET.                   ~

            21.        Despite being aware that Plaitniff was represented by an attorney

regarding the alleged debt, on January 14, 2015, MCM sent a letter directly to Plaintiff by mail,

stating that MIDLAND had acquired the alleged debt on December 19, 2014.

            22.        The letter further demanded payment in the amount of $12,429.68 on the

alleged debt.

                                            COUNTI
                           VIOLATION OF 15 U.S.C. 4 1692c(a)(2)

            23.        Plaintiff incorporates herein by reference each and every prior allegation

as though fully restated and fully re-alleged.

            24.        Plaintiff brings his first claim for relief against 'MIDLAND, MCM,

ASSET, AND ENCORE under the Federal Fair Debt Collection Practices Act ("FDCPA"), 15

U.S.C. § 1692c(a)(2)

           25.         ASSET, a subsidiary of ENCORE, knew that Plaintiff was represented by

an attorney regarding the alleged debt.




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            26.        ASSET assigned the alleged to debt another subsidiary of ENCORE,              Q
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MIDLAND.                                                                                             Q
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            27.        MCM, also a subsidiary of ENCORE and the servicer of accounts for              .
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MIDLAND, contacted the Plaintiff directly attempting to collect on the alleged debt.                 v
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            28.        ENCORE and its subsidiaries had actual knowledge and knew that                ~
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Plaintiff was represented by an attorney regarding the alleged debt through imputed knowledge.       °'
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            29.        ENCORE and its, subsidiaries conspired to transfer the account in an          ~
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attempt to avoid having to contact the Plaintiff through his attorney.

            30.        15 U.S.C. § 1692c(a)(2) prohibits a debt collector from communication

with a consumer in regards to a debt if "the debt collector knows the consumer is represented by

an attorney with respect to such debt and has knowledge of, or can readily ascertain, such

attorney's name and address".

            31.        Defendants have thus violated 15 U.S.C. § 1692c(a)(2) in having MCM

send a letter directly to the Plaintiff regarding the alleged debt.

            32.        Defendants' acts as described above were done intentionally with the

purpose of coercing Plaintiff to pay the alleged debt.

            33.        As a result of Defendants' violation of the FDCPA, Plaintiff is entitled to

an award of statutory damages, costs and reasonable attorney fees, pursuant to 15 U.S.C. §

1692k.

                                            COUNT II

                           VIOLATION OF 15 U.S.C. & 1692e(2)(A)

            34.       Plaintiff incorporates herein by reference each and every prior allegation

as though fully restated and fully re-alleged.




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            35.       Plaintiff brings his second claim for relief against MIDLAND and MCM

under the Federal Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692e(2)(A).

            36.       The amount demanded of $12,429.68 in the letter sent by MCM to the

Plaintiff does not state what part of that amount is principal and what part of that amount is

interest.

            37.       The amount demanded in the letter exceeds the actual principal amount of

the alleged debt.

            38.       The letter does not indicate that interest was currently, or had previously

been, accruing on the alleged debt.

            39.       15 U.S.C. § 1692e(2)(A) prohibits a debt collector from the false

representation of "the character, amount, or legal status of any debt".

            40.       MCM and MIDLAND have violated 15 U.S.C. § 1692e(2)(A) by falsely

representing the amount of the alleged debt to be $12,429.68.

            41.       MCM and MIDLAND's acts as described above were done intentionally

with the purpose of coercing Plaintiff to pay the alleged debt.

            42.       As a result of MCM and MIDLAND's violation of the FDCPA, Plaintiff is

entitled to an award of statutory damages, costs and reasonable attorney, fees, pursuant to 15

U.S.C. § 1692k.

                                           COUNT III

                            VIOLATION OF 15 U.S.C. & 16920)

            43.       Plaintiff incorporates herein by reference each and every prior allegation

as thought fully restated and fully re-alleged.




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            44.       Plaintiff brings his second claim for relief against MIDLAND and MCM             n
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under the Federal Fair.Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692f(1).                 Q
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         45.      The amount demanded in the letter from MCM, $12,429.68, minus the                   ~
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amount ASSET alleged was the principal amount in its lawsuit, $7,497.31, leaves an amount of          ~
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interest equal to $4,932.37.                                                                          :tll
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            46.       The statutory rate of interest in the State of Missouri on debts where there    °'
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is no agreed upon rate of interest is 9% per annum.                                                   ;
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            47.       In order for said debts to start accruing interest, the party in ownership of   ~

the debt must make demand for payment on the party owing the debt.

           - 48.      MIDLAND's first communication, through MCM, to the Plaintiff

regarding the alleged debt was on January 14, 2015.

            49.       In order for $4,932.37 of interest to have accrued at the statutory rate,

MIDLAND would have needed to send a demand for payment to the Plaintiff on September 24,

2007.

            50.       MIDLAND stated that it did not obtain ownership of the alleged debt until

December 19, 2014.

            51.       U.S.C. § 1692f(1) prohibits a debt collector-from "The collection of any

amount (including any interest, fee, charge, or expense incidental to the principal obligation)

unless such amount is expressly authorized by the agreement creating the debt or permitted by

law".

            52.       MCM and MIDLAND have violated 15 U.S.C. § 1692f(1) by initiating the

collection of an amount of interest that is not permitted by law.




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           53.        MCM and MIDLAND's acts as described above were done intentionally          a
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with the purpose of coercing Plaintiff to pay the alleged debt.                                  n
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           54.        As a result of MCM and MIDLAND's violation of the FDCPA, Plaintiff is      ~
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entitled to an award of statutory damages, costs and reasonable attorney fees, pursuant to 15    v
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U.S.C. § 1692k.                                                                                  ~
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      WHEREFORE, Piper prays this honorable Court:                                               ~
                                                                                                 -o
              a.      Declare that MIDLAND FUNDING, LLC, MIDLAND CREDIT                          ~

                      MANAGEMENT, INC., ASSET ACCEPTANCE, LLC, ENCORE

                      CAPITAL GROUP, INC.'s actions have violated the Fair Debt Collection

                      Practices Act, 15 U.S.C. §§ 1692c(a)(2);

              b.      Declare that MIDLAND FUNDING, LLC, MIDLAND CREDIT

                      MANAGEMENT, INC.,'s actions have violated the Fair Debt Collection

                      Practices Act, 15 U.S.C. §§ 1692e(2)(A), and 1692f(1);

              C.      Award Piper actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

              d.      Award Piper statutory damages in an amount not exceeding $1,000

                      pursuant to 15 U.S.C. § 1692k(a)(2)(A);

              e.     Award Piper the cost of this action and reasonable attorney fees pursuant

                      to 15 U.S.C. § 1692k(a)(3); and

              f.      Award Piper such other and further relief as may be just and proper.




                                     Respectfully Submitted,




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                       /s/ Jovanna R. Longo
                       Jovanna R. Longo, MO #60294
                       Longo Law Firm, LLC
                       505 E. Main Street
                       Adrian, MO 64720
                       Tel: 816-787-1979
                       Fax:816-569-9909
                       Email: jovanna@longolawfirm.com




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